       Case 2:13-cr-00084-TLN Document 234 Filed 07/16/18 Page 1 of 2


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 6
                                   UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALORNIA
 8

 9
     UNITED STATES OF AMERICA,                  Cr.S. 13-084 GEB
10
                      Plaintiff,                COURT: Hon. Garland E. Burrell, Jr.
11
           v.                                 STIPULATION & PROPOSED ORDER TO
12                                            RELEASE PASSPORT AND ALLOW
     Anita Sharma,                            TRAVEL TO CANADA
13
                      Defendant.
14

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17                Defendant, ANITA SHARMA, by and through her undersigned

18   Counsel, and plaintiff, United States of America, by and through

19   Assistant United States Attorney, Lee Bickley, hereby stipulate

20   that this Court should permit Ms. Sharma to obtain the release of

21   her passport from the United States Clerk’s Office for the Eastern

22   District of California on August 1, 2018.            Pre-trial

23   services is aware of this request and does not object to it.

24                Ms. Sharma plans to visit her ailing, 82 year old father, Om

25   Parkash Sharma, from August 2, 2018 through August 15, 2018 in British

26   Columbia.       Mr. Sharma resides at 12726 68th Ave., Surrey, B.C. V3W1G4.

27   Ms. Sharma will surrender her passport to the United States District

28   Court for the Eastern District of California no later than August 16,
                                                1
      Case 2:13-cr-00084-TLN Document 234 Filed 07/16/18 Page 2 of 2


 1   2018.

 2

 3   Date: July 12, 2018                       Respectfully submitted,

 4                                                 /s/ Shari Rusk
                                                   SHARI RUSK
 5                                                 Attorney for Defendant
                                                   Anita Sharma
 6

 7                                                  /s/ Lee Bickley__________
                                                    LEE BICKLEY
 8                                                  ASSISTANT UNITED STATES
                                                    ATTORNEY
 9

10

11                            PROPOSED ORDER

12                It is so ordered that the Office of the Clerk for the

13   Eastern District of California release Anita Sharma’s passport to her

14   on August 1, 2018, permitting her to travel to see her father in

15   British Columbia from August 2, 2018 until August 15, 2018. Ms. Sharma

16   is ordered to surrender her passport back to the Court on August 16,

17   2018.

18           Dated:   July 13, 2018

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